Filed 09/05/23                                             Case 23-02064                                                   Doc 5


            82500A (F'onn 2500A) (12l15)



                                                United States Bankruptcy Court
                                                                District Of
            tnr"M                                                      )      cu,"No.   d7'7,7056'A'7
                              Debtor                                   )
            S &nt Crogs,I
                 I                             ii&,attV ar,,Q          )      Chapter   7
                                         ^At            Trubl-         )
                                                                       )
                              P laint   iff                            )
                                                                       )
                                                                       )      Adv. Proc. No.
                                                                       )
           O*,.,iJ R. ytlicltal                                        )
                              DefLndant                                )


                                         SUMMONS IN .AN ADVBRSARY PROCEEDING

            YOU ARE SUMMONED and required to file a rnotion or answer to the cornplaint which is attached to
            this summons with the clerk ofthe bankruptcy court within 30 days after the date ol'issuance ofthis
            sr"lllmons, except that the United States and its offices and agencies shall file a motion or anslver to the
            complaint within 35 da1's.


                              ""''io i''f''n>t-(*r, Surk 3-^b
                              ,\ddless ofthe c lc'rk:


                                        8ra*wv,-ttfo,CA QS61y
            At the same time, you must also serve a cop,-- of the motion or answer upon the plaintiil's attorney.

                              Name and Addless of Pla int iff s Attorncr :

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                                        7q8 #o:/bra6/
            Ii you nrake a motion, your tirne to answer is governed U1 Fed. R. Bankr. P. 70 12.


            I}'YOU FAIL TO RESPOIID TO THIS SUMMONS, YOUR FAILURE WILL tsE DEEMED
            T'O BE YOUR CONSENT TO ENTRY OF A JUDCMENT BY TTIE BANKRUPTCY COURT
            AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
            DEMANDED IN THE COMPLAINT.


                                                                                        (Clerk o1'the Bankroptc) Court)

                     I)ate:                                     B,U:                           (Deputy Clerk)
Filed 09/05/23                                            Case 23-02064                                                           Doc 5


            B2500A (Fonn 25004) ( l2i l5)



                                                 CI'RTIFICATE OF SIiRVICE
                                                              (name). certifj thal service ofthis sumurous and a copl oi'
            the cotr plaint uas made                                   (date) b),:

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                            of dct:ntlanl at:




                    tr      Residence Service: Bv leaving the process *,itlr the tbllou ine adult at:




                    A       Certilled lV1ail Sen'icc on an lnsured Depositorl Irstilrltion: Bt sending thc plticess b;
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                    i]      Slatc l.arv: l-hc de iendant i,r,as scrvcd pursuant to the larvs olthe State of _.               as
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            not a prfi1'to the nlatter concernillg $hich se|vice olprocess $as rlacle.

                    [ ;nder pcnah]   olpcliurl. I dcclarc that the lirregoing is true and correcl.

                    Date                         S ignature



                            Print Name:

                            Business Address:
